

Matter of Ens (2022 NY Slip Op 06859)





Matter of Ens


2022 NY Slip Op 06859


Decided on December 1, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:December 1, 2022

PM-208-22
[*1]In the Matter of Caitlin Melissa Ens, an Attorney. (Attorney Registration No. 5765946.)

Calendar Date:November 28, 2022

Before:Lynch, J.P., Aarons, Reynolds Fitzgerald, Ceresia and McShan, JJ.

Caitlin Melissa Ens, Silver Spring, Maryland, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Caitlin Melissa Ens was admitted to practice by this Court in 2020 and lists a business address in Washington, DC with the Office of Court Administration. Ens now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Ens' application.
Upon reading Ens' affidavit sworn to September 29, 2022 and filed October 19, 2022, and upon reading the November 22, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Ens is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Lynch, J.P., Aarons, Reynolds Fitzgerald, Ceresia and McShan, JJ., concur.
ORDERED that Caitlin Melissa Ens' application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Caitlin Melissa Ens' name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Caitlin Melissa Ens is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Ens is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Caitlin Melissa Ens shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








